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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                RICHMOND DIVISION


REYANNA BANKS,

         Plaintiff,

v.                                                      Civil Action No. 3:18CV00093-HEH

BTF3, LLC, et al.,

         Defendants.

                                    SCHEDULING ORDER

         Pursuant to Fed. R. Civ. P. 16(a) and 16(b) and Local Rule 16(B), a pretrial conference

is scheduled in this action for FRIDAY, JUNE 15, 2018 at 11:05 a.m. Please report to the

Courtroom of Judge Hudson, Seventh Floor, Spottswood W. Robinson III and Robert R.

Merhige, Jr. United States Courthouse, 701 East Broad Street, Richmond, Virginia. It is

anticipated that the conference will last approximately five (5) minutes.

         The Court will set a trial date which will be within ninety (90) to one hundred fifty

(150) days after the pretrial conference except for complex litigation or in other unusual

circumstances. Unless approved by the Court before the pretrial conference, counsel who

will actually try the case or counsel with full decision-making authority shall attend the pretrial

conference. Counsel attending shall be prepared to provide available dates for trial and

motions for all counsel of record. In any event, counsel shall be knowledgeable of the facts

and legal issues in the action and shall be prepared to set a firm trial date. Absent

extraordinary circumstances, pretrial conferences will not be conducted via telephone.
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       Finding it in the interest of justice and otherwise reasonably necessary for the orderly

and efficient administration of justice, it is hereby ORDERED that the schedule set forth in

Pretrial Schedule A (attached) shall govern the progress of this action, except to the extent

amended or augmented by the terms of the Initial Pretrial Order issued after the pretrial

conference or by any other Order.

       Issued at the direction of the Court.



                                               By:                   /s/
                                                     R.W. Pizzini, Deputy Clerk

Richmond, Virginia
Date: May 16, 2018



IF THIS CASE IS SETTLED PRIOR TO THE CONFERENCE, PLEASE CALL THE
CLERK'S OFFICE AT (804) 916-2227. THANK YOU.




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